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                            UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSSETTS

 ROBERT DANTZLER,


                        Plaintiff,
                                                                   NO. 1:20-CV-12056

        v.


 FEDEX GROUND PACKAGE SYSTEM, INC.,


                        Defendants.

                                     NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. § 1441, defendant, FEDEX GROUND PACKAGE SYSTEM, INC.,

(hereinafter “Defendant”), by and through its attorneys, Callahan & Fusco, LLC, hereby remove

to this Court the action filed in the Superior Court of the Commonwealth of Massachusetts,

Middlesex County (the “Superior Court”) and described below, on the basis of diversity of

citizenship. In support of this notice, Defendant states as follows:

       1.       Plaintiff, Robert Dantzler, (“Plaintiff”) commenced this action against Defendant

on or about August 6, 2020, by filing a complaint in the Superior Court with civil action number

2081CV01926 (the “State Court Action”).

       2.       Defendant was served with the Complaint from the State Court Action on

September 29, 2020. Attached hereto as Exhibit A is a copy of all process, pleadings, and orders

received or obtained to date by Defendant from the State Court Action.

       3.       Plaintiff’s claims in the State Court Action seek damages for negligence. See

Exhibit A, Complaint, ¶¶ 27 – 30.
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                STATUTORY REQUIREMENTS – 28 U.S.C. §§ 1332, 1441 & 1446

       4.      Removal of this case is proper pursuant to 28 U.S.C. §§ 1446(a) and 1441(b), which

entitles defendant to remove a civil action over which this Court has diversity jurisdiction pursuant

to 28 U.S.C. § 1332.

       5.      Upon information and belief, Plaintiff is a Massachusetts resident that resides in

Uncasville, Connecticut. See Exhibit A, Complaint, ¶ 1.

       6.      Defendant is a Delaware Corporation with a principal place of business at 1000

FedEx Drive, Moon Township, Pennsylvania 15108. See Exhibit A, Complaint, ¶ 2.

       7.      Plaintiff has set forth a demand in excess of $75,000.00 in this matter, and as such,

Plaintiff’s claimed damages, exclusive of interest and costs, exceed the $75,000.00 threshold.

Therefore, diversity of citizenship is satisfied. See 28 U.S.C. § 1332(a). See Exhibit A, Civil

Action Cover Sheet annexed to the Complaint.

                 PROCEDURAL REQUIREMENTS AND LOCAL RULES

       8.      Removal to Proper Court.        This Court is part of the “district and division”

embracing the place where this action was filed – the Superior Court of the Commonwealth of

Massachusetts, Middlesex County. See 28 U.S.C. §§ 1441(a), 1446(a).

       9.      Removal Is Timely. Upon receipt of the Complaint in this matter, on October 13,

2020, the Defendant requested an extension of thirty (30) days in which to file a responsive

pleading to Plaintiff’s Complaint. Attached hereto as Exhibit B is a copy of correspondence from

Defendants, dated October 13, 2020. Plaintiff’s counsel granted the thirty (30) day extension on

October 22, 2020. Attached hereto as Exhibit C is a copy of the correspondence from Plaintiff’s

counsel, Jeffrey M. Steinberg, dated October 22, 2020.




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        Moreover, as per the Civil Tracking Order set forth by the Trial Court of Massachusetts,

Middlesex County Superior Court, Defendant had until December 8, 2020, to file a Response to

the Complaint filed. See Exhibit A, Civil Tracking Order.

        As such, the Removal is timely filed.

        10.     Pleadings and Process. Attached hereto as Exhibit A is a copy of all process,

pleadings, and orders received or obtained by Defendant in the State Court Action. See 28 U.S.C.

§ 1446(a). Pursuant to Local Rule 81.1(a), Defendant will file certified or attested copies of all

records, proceedings, and docket entries in the state court within 28 days of the filing of this Notice.

        11.     Notice. Defendant will promptly serve upon Plaintiff and file with the Clerk of the

Superior Court, a Notice of Filing of Notice of Removal, attached hereto as Exhibit D, with its

exhibits omitted. See 28 U.S.C. § 1446(d).

        12.     Signature. This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11. See

28 U.S.C. § 1446(a).

                                              CONCLUSION

        13.     Based upon the foregoing, this Court has jurisdiction over this matter pursuant to

28 U.S.C. § 1332, and the State Court Action may be removed to this Court under 28 U.S.C. §§

1441 and 1446.

        14.     In filing this Notice of Removal, Defendant does not waive, and specifically

reserves, any and all defenses, exceptions, rights, and motions.

        WHEREFORE, this action should proceed in the United States District Court for the

District of Massachusetts, as an action properly removed thereto.




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                             Respectfully submitted,
                             FEDEX GROUND PACKAGE SYSTEM, INC.
                             By its attorneys,
                             CALLAHAN & FUSCO, LLC


Dated: November 18, 2020     /s/ Chelsea S. Novelli
                             Chelsea S. Novelli, Esq. (BBO# 699019)
                             CALLAHAN & FUSCO, LLC
                             103 Eisenhower Parkway, Suite 400
                             Roseland, New Jersey 07068
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                             cnovelli@callahanfusco.com




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                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing NOTICE OF REMOVAL has this day been
forwarded via First Class Mail to counsel for the plaintiff:

      Jerry M. Steinberg, Esq.
      Law Office of Jeffrey M. Steinberg
      965 Concord Street
      Framingham, MA 01701
      (508) 875-8600

Dated: November 18, 2020                   /s/ Chelsea S. Novelli
                                           Chelsea S. Novelli, Esq. (BBO# 699019)




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